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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF VIRGINIA

 

Intersections, lnc., et al.
Plaintiff,
v. Case No. l:09cv597 (LMB/TCB)
Joseph C. Loomis, et al.,

Defendant.

 

 

 

MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
DEFENDANT’S MOTION FOR LEAVE TO FILE BRIEF AND EXHIBITS
UNDER SEAL AND TO PERMIT FORMER COUNSEL TO TESTIFY

Defendant Joseph C. Loomis, by counsel, hereby files this memorandum in support of his
motion for leave to file under seal his brief and any exhibits related to his Opening Brief in
Opposition to Plaintiffs’ Motion to Enforce Settlement Agreement. In addition, this brief is filed
in support of his motion for a conditional order declaring that Thomas l\/l. Dunlap and Ellis L.
Bennett may testify at any hearing of this matter.

A. Filings Under Seal.

On a joint conference call on June 28, 2010, counsel for Plaintiffs indicated that she
believed that briefs and certain exhibits related to an alleged settlement should be filed under seal
because the alleged settlement contains a confidentiality provision There Was no objection to
this by counsel for Ms. Jenni Loomis. Pending judicial review of the positions of the parties on
the enforceability of the settlement, Mr. Loomis agrees that sealing is appropriate, but the ground
he relies upon is that Local Rule 83.6(E) provides that all communications related to confidential

mediations should remain confidential ln addition, Mr. Loomis agrees that certain exhibits that

the parties have marked as “Confidential” under the Stipulated Protective Order in this case must

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be filed under seal. See Level 3 Comm ’ns, Inc, v. Ll`melighr Nerworks, [nc., 611 F.Supp.2d 572
(E.D. Va. 2009) (holding that private interests, including the interest in protecting trade secrets,
may override the public right of access). Thus, Mr. Loomis agrees that sealing is appropriate at
least until the Court rules on the issue of whether the settlement is enforceable1

In Ashcraft v. Conoco, Inc., 218 F.3d 288, 302 (4th Cir.2000), the Fourth Circuit
identified the truism that a district court “has supervisory power over its own records and may, in
its discretion, seal documents if the public's right of access is outweighed by competing
interests” (internal quotation marks omitted). In order to seal documents, the court must “(l)

provide public notice of the request to seal and allow interested parties a reasonable opportunity

. to object, (2) consider less drastic alternatives to sealing the documents, and (3) provide specific

reasons and factual findings supporting its decision to seal the documents and for rejecting the
alternatives.” Id.

The public notice requirement may be satisfied by docketing the motion to seal. See
Harrell v. Duke Universz`ly Heall‘h Sysrem, Inc., 2007 WL 4460429, l (D.S.C. 2007). Where a
document is subject to a protective order but is material to the litigation, a court has the
discretion to permit the document to be filed under Seal. See Grady v. Jejj%rson Counly Ba’. Of
Counly Com ’rs, 2008 WL 6l92l9, 3 (D.Colo. 2008) (“the existence of a protective order,
together with [enforcement of the protective] order, would likely supply the ‘compelling reason’
sufficient to support the filing of a document under seal, at least in the first instance.”); DAG
Enrerprl`ses v. Exxon Mobile Corp., 2005 WL 475274, 3 (D.D.C. 2005) (granted defendants’
motion to file documents under seal that were subject to a protective order but that were essential

to defendants’ opposition).

 

‘ However, the need to maintain confidentiality of mediation procedures Would seem to require a closed
coultroom, and thus the issue of the scope of any order to seal must be revisited prior to the evidentiary
hearing that is Scheduled to occur on August 6, 2010.

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ln this case, the papers Mr. Loomis seeks to file under seal are subject to a sealing

requirement either by virtue of Local Rule 83.6, pursuant to this Court’s Stipulated Protective
Order or pursuant to the alleged settlement agreement should the Court rule against him. At the
same time, the documents are material to the issue of whether there was an enforceable
settlement agreement Given the private nature of the parties’ dispute, the Local Rules, the need
to file documents under seal as directed by the Protective Order and the Court’s need to consider
the materials, granting the relief requested herein is appropriate

B. The Testimony Of Messrs. Dunlap and Bennett.

l\/Issrs. Dunlap and Bennett formerly represented Mr. Loomis until they withdrew

. because of a conflict. While Mr. Loomis contends that the terms and conditions of the

incomplete settlement cannot be supplemented by the testimony of mediation participants (as set
forth in his Opening Brief), he recognizes that the Court has expressed (at least initially) a
contrary view on the conference call on June 28, 2010. Specifically, the Court indicated that she
felt it would not be inappropriate for l\/Issrs. Dunlap and/or Bennett to testify though she
indicated that the undersigned could raise his legal issues concerning Local Rule 83.6 in a
memorandum of law. The Court further indicated that she would be willing to enter an Order
clarifying that Mssrs. Dunlap and Bennett could testify if the Court were to rule that Local Rule
83.6 did not preclude such testimony Accordingly, the undersigned seeks an order permitting
Mssrs. Dunlap and Bennett to testify at any hearing of this matter if the Court ultimately

concludes that Local Rule 83.6 is not a bar to such testimony.

 

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WHEREFORE, Defendant Joseph Loomis, by counsel, respectfully requests the Court to
grant permission to file his pleadings and papers related to the Plaintiffs’ motion to enforce
settlement agreement under seal, to conditionally permit Messrs. Dunlap and Bennett to testify,
and for such other and further relief as justice may require.

Respectfully submitted,

/s/

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CERTIFICATE OF SERVICE

l hereby certify that on this 30th day of June, 2010, l have filed a true and correct copy of
the foregoing with the Clerk of Court via the Cl\/I/ECF efiling system which will send notification of
this filing to the following counsel of record:

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